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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



      JAROSLAV HORNOF, et al                     )
        Plaintiffs                               )
                                                 )
      v.                                         )   CIVIL NO. 2:19-cv-00198-JDL
                                                 )
      UNITED STATES OF AMERICA, et al            )
       Defendants                                )


                                       JUDGMENT


             In accordance with the Order on Motions to Dismiss entered by Chief U.S.

      District Judge Jon D. Levy on October 20, 2020, and the Order on Summary Judgment

      entered by Chief U.S. District Judge Jon D. Levy on August 31, 2023;

             JUDGMENT is hereby entered for defendants United States of America, United

      States Department of Justice, United States Coast Guard, and United States Department

      of Homeland Security and against plaintiffs Jaroslav Hornof, Damir Kordic, and Lukas

      Zak; and

             JUDGMENT of Dismissal is hereby entered as to defendants Shane Waller, John

      Cashman, Richard Udel, Michael A. Fazio, Michael Baroody, Jon D. Lavallee, Mark

      Root, Christy Doyle and Shannon True.

                                                 CHRISTA K. BERRY
                                                 CLERK


                                          By:    /s/ Charity Pelletier
                                                 Deputy Clerk
Dated: September 5, 2023
